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                         UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
                                                                                 PRELIMINARY
U.S. District Court case number:               2:22-CV-00677-JJT                 INJUNCTION APPEAL
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court: 04/22/2022

Date of judgment or order you are appealing:                     08/26/2022

Docket entry number of judgment or order you are appealing:                               100, 101
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court
List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  Kari Lake
  Mark Finchem



Is this a cross-appeal?          Yes            No
If yes, what is the first appeal case number?
Was there a previous appeal in this case?                    Yes            No
If yes, what is the prior appeal case number?
Your mailing address (if pro se):




City:                                         State:                  Zip Code:

Prisoner Inmate or A Number (if applicable):

Signature       /s/ Andrew D. Parker                                    Date       09/14/2022
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                          Rev. 06/09/2022
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Kari Lake
Mark Finchem

Name(s) of counsel (if any):
Andrew D. Parker
Kurt Olsen


Address: 123 N. 3rd St., Ste. 888, Minneapolis, MN 55401
Telephone number(s): 612-355-4100                    202-408-7025
Email(s): parker@parkerdk.com                  ko@olsenlawpc.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
Katie Hobbs, as Arizona Secretary of State


Name(s) of counsel (if any):
David Gaona, Kristen Yost, Roopali Desai, Christine Bass, Sambo Dul



Address: 2800 N. Central Ave., Ste. 1900, Phoenix, AZ 85004
Telephone number(s): 602-381-5481                    309-242-8511
Email(s): Agaona@cblawyers.com, kyost@cblawyers.com,
           rdesai@cblawyers.com, christinebass@statesuniteddemocracy.org,
           bo@statesuniteddemocracy.org
To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        New 12/01/2018
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:
Bill Gates, Clint Hickman, Jack Sellers, Thomas Galvin, Steve Gallardo,

Name(s) of counsel (if any):
Joseph Branco, Joseph LaRue, Karen Hartman-Tellez, Thomas Liddy, Emily
Craiger
Address: Maricopa Cty. Attorney, 225 W Madison St., Phoenix, AZ 85003
Telephone number(s): 602-506-8541                           602-806-2104
Email(s): brancoj@mcao.maricopa.gov, laruej@mcao.maricopa.gov,
          hartmank@mcao.maricopa.gov, liddyt@mcao.maricopa.gov,
Name(s) of party/parties:        emily@theburgesslawgroup.com
Rex Scott, Matt Heinz, Sharon Bronson, Steve Christy, Adelita Grijalva

Name(s) of counsel (if any):
Daniel Jurkowitz


Address: Pima Cty. Attorney, 32 N. Stone Ave., Ste 2100, Tucson, AZ 85701
Telephone number(s): 520-740-5750
Email(s): Daniel.Jurkowitz@pcao.pima.gov
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         New 12/01/2018
         Case 2:22-cv-00677-JJT Document 104 Filed 09/14/22 Page 4 of 4




Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:
Maricopa County Board of Supervisors

Name(s) of counsel (if any):
Joseph Branco, Joseph LaRue, Karen Hartman-Tellez, Thomas Liddy, Emily
Craiger
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          hartmank@mcao.maricopa.gov, liddyt@mcao.maricopa.gov,
Name(s) of party/parties:        emily@theburgesslawgroup.com


Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               3                                         New 12/01/2018
